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United States District Court

NORTHERN DISTRICT OF TEXAS

DALL.AS DIV]SION
KIMBERLY WiLsoN §
§
§
v § CivIL AcrioN No. 3 : 1 s-Cv-zoos-s
§
§
oiTY oF RoWLETT §

MEMORANDUM OPINION AND ()RDER

This Order addresses Defendant City of RoWlett’s (“Defendant” or “City”) l\/lotion to
Dismiss [ECF No. 8]. For the reasons set forth below, the l\/lotion is granted in part and denied in
part.

I. BACKGROUND

Beginning on September 21, 2015, Plaintiff Kirnberly Wilson (“Piaintiff’) Was employed
by the City as its Chief Financial Officer (“CFO”). Cornpl. il 3.1. She worked under the guidance
of City Manager Brian Funderburl<. Id. As CFO, Plaintiff uncovered discrepancies in the City’s
fiscal budget Id. 11 3.2. Plaintiff alleges that the errors Were often caused by Funderburk and that
he “becarne frustrated and angry” as she continued to point out the discrepancies she found Id.
Plaintiff contends that Funderburl< asked her to “‘cover up’ or delay informing the City Conncil
about these glaring errors.” Id.

According to Plaintiff, she reported the following violations to Funderburk and, on
occasion, to the Assistant City Manager, City Attorney, and Human Resources: (l) miscalculation
of property tax collections', (2) provision of inaccurate information regarding the Senior tax freeze
in a budget memo and a council \>vori<shop; (3) failure to present excessive cell service contracts

to the City Council for approval; (4) attempted cover~up of a $30(),000 error in the permitting

 

 

 

 

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revenue budget for fiscal year 2017; (5) overpayment for private placement bonds‘, (6) construction
of a radio tower on the wrong land and concealment of the error; and (7) appointment of Chief
Judge Pam Liston at a salary well above what judges normally earn in small and medium-sized
cities. Ial. 11 3.3 Plaintiff contends that this conduct violated City policy and other laws. Id. 11 3.4.

Plaintiff also alleges that she was subjected to and reported sexual harassmentl Id. 11 3.8.
According to Plaintiff, Police Chief Mike Brodnax “often talked about sex around [Plaintiff`j, with
the entire executive team as witnesses, including describing his sexual preferences and being naked
at home.” Id. Plaintiff states that she often asked Brodnax to stop, but he did not stop. Id. Plaintiff
alleges that, at a council meeting, she and Brcdnax were trying to determine a woman’s identity.
Ia'. According to Plaintiff, Brodnax said, “Well 1 don’t know Wlio she is but she Sure does have a
nice assl” Id. Plaintiff complained to Funderburk, but she alleges that Funderburk told her she
was being ami-public safety. Id.

On September 13, 2017, Defendant terminated Plaintiff. Id. 11 3.9. Plaintiff alleges that
Defendant terminated her “in proximate time to her complaints about” violations of law and policy
and sexual harassmentl Id. Dcfendant offered Plaintiff` a Separaticn Agreement and told her that
a refusal to sign it would not result in an involuntary termination ld. However, Plaintiff did not
sign the Separation Agreement and retained an attorney, and Defendant listed the reason for
Plaintiff"s termination as “lnvoluntary” for “Misconduct.” Id. Plaintiff lists five male employees
who were permitted to resign or retire, making them eligible for rehire. Id. 11 3. lO. According to
Plaintiff, she and another female employee are the only two employees to ever be terminated for
misconduct [a’. 113.12.

Plaintiff contends that she Was retaliated against even after being terminated Id. 11 3.l l.

After her termination, Plaintiff secured a seat in the Leadership Rowlett class through the Rowlett

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Chamber of Commerce. Id. The day after the first meeting, Plaintiff received a call from the
president of the Chamber of Commerce pulling her application and excusing her from the class.
Ia'. He allegedly “stated that he had received feedback from different sources that he could not
disclose and after discussing the situation with the leadership committee determined, ‘this was
best.”’ Id. Plaintiff contends that she “was subsequently informed by a witness” that Funderburk
went to the Chamber of Commerce and told them to pull her application Id. 11 3.12.

Based on the foregoing allegations, Plaintiff asserts three causes of action under Title VII
of the Civil Rights Act of 1964 (“Title Vll”): (l) sexual harassment and sexually hostile work
environment, (2) retaliation, and (3) gender discrimination She also asserts two causes of action
under Chapter 21 of the 'l`exas Labor Code (“Chapter Zl”): (l) sexual harassment and sexually
hostile work environment and (2) retaliationl Finally, she brings a cause of action for a violation
of the Texas Whistleblower Protection Act. Defendant moves to dismiss all of Plaintiffs causes
of action under Rule lZ(b)(6) for failure to state a claim upon which relief can be granted

II. RULE 12(b)(6)

To defeat a motion to dismiss filed pursuant to Federal Rule of Civil Procedure lZ(b)(o), a
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2()07); Reliable Consulfants, Inc. v. Earle, 517 F.3d 738,
742 (Sth Cir. 2008). To meet this “facial plausibility” standard, a plaintiff must “plead[] factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plausibility does not require

probability, but a plaintiff must establish “more than a sheer possibility that a defendant has acted

 

l Because the law governing claims under Chapter 21 and Titie VII is identical, the Court will refer only to Titie Vll
throughout its analysis However, the Court’s findings apply to Plaintiff’s Chapter 21 claims as well. See Shackelford
v. De!oitte & Touche, LLP, l90 F.3d 398, 403 n.2 (Sth Cir. l999).

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unlawfully.” Ia’. The court must accept well-pleaded facts as true and view them in the light most
favorable to the plaintiff Sonnier v. State Farm Mut. Auto. ]ns. Co., 509 F.Bd 673, 675 (5th Cir.
2007). However, the court does not accept as true “conclusory allegations, unwarranted factual
inferences, or legal conclusions.” Ferrer v. Chevron Corp., 484 F.Bd 776, 780 (5th Cir. 2007). A
plaintiff must provide “more than labels and conclusions, and a formulaic recitation of the elements
of a cause of action will not do.” Twombly, 550 U.S. at 555 (internal citations omitted). “F actual
allegations must be enough to raise a right to relief above the speculative level . . . on the
assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. (internal
citations omitted).

The ultimate question is whether the complaint states a valid claim when viewed in the
light most favorable to the plaintiff Great Plains Tr. Co. v. Morgan Stanley Decm Witter & Co.,
313 F.Bd 305, 3 l2 (5th Cir. 2002). At the motion to dismiss stage, the court does not evaluate the
plaintiffs likelihood of success. lt only determines whether the plaintiff has stated a claim upon
which relief can be granted Mann v. Adams Really Co., 556 F.Zd 283, 293 (5th Cir. l977).2

III. ANALYSIS

A. Sexual Harassment and Sexually Hostile Work Environmen! (Tz`tle VII and
Cka.pter 21 )

Under Title Vll, it is “an unlawful employment practice for an employer . . . to discriminate
against any individual with respect to his compensation, terms, conditions, or privileges of
employment, because of such individual’s . . ._ sex.” 42 U.S.C. § 2000e~2(a)(l). There are two

types of sexual harassment cases: quid pro quo and hostile work environment “Cases based on

 

2 The Court notes that many of the cases cited by Defendant in its Motion relate to summary judgments A case
involving a summary judgment motion is not authority for dealing with a Rule lZ(b)(o) motion unless the case
specifically states or holds that a party has failed to allege, assert, or set forth sufficient facts to state a claim upon
which relief can be granted

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threats which are carried out are referred to often as quid pro quo cases, as distinct from
bothersorne attentions or sexual remarks that are sufficiently severe or pervasive to create a hostile
work environment.” Burlington Indus., Inc. v. Ellerrh, 524 U.S. 742, 751 (1998). To establish a
quid pro quo claim, “a plaintiff must show (1) that she suffered a tangible employment action; and
(2) that the tangible employment action resulted from the acceptance or rejection of a supervisor’s
sexual advances.” Higgins v. Lufkin ladus., Inc., 633 F. App’x 229, 232 (5th Cir. 2015) (citation
omitted). On the face of the Complaint, Plaintiff does not appear to be pursuing a quid pro quo
claim. However, Plaintiff' s Response includes a discussion of tangible employment actions and
Brodnax’s status as Plaintiff s supervisor. See Resp. 5. To the extent Plaintiff intends to pursue a
quid pro claim, the Court grants Defendant’s l\/lotion to Dismiss as to that claim.

To establish a hostile work environment claim, a plaintiff must show that: “(l) she is la]
member of a protected group; (2) she was the victim of uninvited sexual harassment; (3) the
harassment was based on sex', (4) the harassment affected a ‘term, condition, or privilege’ of [the
plaintiff s1 employment; and (5) her employer knew or should have known of the harassment and
failed to take prompt remedial action.” Harvill v. Wesrward Commc ’ns, L.L. C., 433 F.3d 428, 434
(5th Cir. 2005) (quoting Woods v. Delta Beverage Grp., lnc., 274 F.3d 295, 298 (5th Cir. 2001)).
“[E]mployees bringing a Title Vll sexual harassment case alleging that a supervisor with
immediate (or successively higher) authority over the employee harassed the employee need only
satisfy the first four elements of 1this1 test . . . .” Watfs v. Kroger Co., 170 F.3d 505, 509 (5th Cir.
1999)

Defendant does not dispute the first three elements With respect to the fourth element,
Defendant argues that Plaintiff has not adequately pleaded that she was subjected to conduct that
affected a term, condition, or privilege of her employment As to the fifth element, Defendant

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contends that Plaintiff failed to plead facts to establish that the City knew or should have known
about the alleged harassment

At this stage, the Court finds that Plaintiff has adequately pleaded that the alleged
harassment affected a term, condition, or privilege of her employment Defendant cites cases
involving summary judgment motions in support of its argument that the complained-of behavior
was, at most, “boorish and offensive.” Mot. to Dismiss 8. At the motion to dismiss stage, however,
the Court “accept[s] well-pleaded facts as true and viewls] them in the light most favorable to the
plaintiff.” Sonnier, 509 F.3d at 675. Applying this standard, the Court finds that Plaintiff has
adequately pleaded that the harassment affected a term, condition, or privilege of her employment
and denies Defendant’s l\/lotion to Dismiss on this ground

The Court also finds that Plaintiff has adequately pleaded either that the alleged harasser
was her supervisor or that her employer knew or should have known of the harassment and failed
to take prompt remedial action. Plaintiff contends that Brodnax, as Police Chief, “is an employee
of Defendant with higher authority over Plaintiff.”3 Resp. 6. Even if Brodnax was not Plaintiff` s
supervisor, however, Plaintiff has adequately alleged that the City knew or should have known of
the alleged harassment She states several times that she reported the alleged harassment to the
City Manager and Human Resources, and she alleges that Defendant did not take prompt remedial
action. See Compl. 1111 3.8, 4.12-4.13. Therefore, the Court denies Defendant’s Motion to Dismiss
on this ground

Defendant also argues that Plaintiff’s sexual harassment claims fail because she failed to

file a charge of discrimination with the Equal Employment Opportunity Commission (“EEOC”)

 

3 ln its Reply, Defendant contends for the first time that it has an affirmative defense to vicarious liability. See Reply
4. Because this defense does not “appear{] clearly on the face of the pleadings,” the Court declines to dismiss
Plaintiff’s sexual harassment claims on this basis. C!ark v, Amoco Prod. Co., 794 F.2d 967, 970 (5th Cir. l986).

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Within 300 days of the alleged harassment See Frcmk v. Xerox Corp. , 347 F.3d l30, 136 (5th Cir.
2003) (“A claimant must file a Title Vll discrimination claim with the EEOC within 300 days of
the challenged discrimination.”); see also Pegram v. Honeywell, Inc., 36l F.3d 272, 279 (5th Cir.
2004) (“[H]ostile environment claims ‘will not be time barred so long as all acts Which constitute
the claim are part of the same unlawful practice and at least one act falls within the time period.”’
(quoting Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 113 (2002))). Plaintiff contends
that the sexual harassment continued until her termination on September 13, 20l7. Compl. il 4.3.
Plaintiff filed her EEOC charge on February l, 2018»»~141 days later. Resp. 12. At this stage, the
Court accepts Plaintiff` s contentions as true and finds that she timely filed a charge with the EEOC.

For the foregoing reasons, the Court denies Defendant’s l\/Iotion to Dismiss as to Plaintiff’s
hostile work environment claims. The Court grants Defendant’e Motion to Dismiss as to Plaintiff’ s
quid pro quo sexual harassment claims but grants Plaintiff’ s request to replead.

B. Retaliation (Title VII and Clmpter 21 )

To assert a claim of retaliation under Title Vil, a plaintiff must show that: (l) She engaged
in an activity protected by Title Vll; (2) the employer took an adverse employment action against
her', and (3) there is a causal connection between the protected activity and the adverse employment
action. Brazorz`a Cty. v. EEOC, 391 F.3d 685, 692 (5th Cir. 2004).

As to the first element, an employee has engaged in protected activity when she has either
“opposed any practice made an unlawful employment practice” by Title Vll or “made a charge,
testified, assisted, or participated in any manner in an investigation, proceeding, or hearing under”
Title VII. 42 U.S.C. § 2000e-3(a). The Court finds that, at this stage, Plaintift` has pleaded
sufficient facts to render it plausible that She engaged in protected activity. Further, Plaintiff has

adequately pleaded that Defendant took one or more actions against her that would “dissuade a

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reasonable worker from making or supporting a charge of discrimination.” Burlfngron N. & Sunta

Fe Ry. Co. v. White, 548 U.S. 53, 57 (2006). And, Plaintiff has sufficiently alleged that there is a

causal connection between the protected activity and the adverse action. Therefore, the Court

denies Defendant’s Motion to Dismiss as to Plaintiff’s Chapter 21 and Title Vll retaliation claims.
C. Gena'er Discrimirmtion (Title WD

To establish a prima facie case of gender discrimination under Title Vll, a plaintiff must
show that: “(1) she is a member of a protected class, (2) she was qualified for her position, (3) she
suffered an adverse employment action, and (4) others similarly situated were more favorably
treated.” Rutherford v. Harris Cly., l97 F.3d 173, l84 (5th Cir. l999) (citing Urbano v. Cont’l
A:.'rlz'nes, ]nc., 138 F.3d 204, 206 (5th Cir. 1998)). At the motion to dismiss stage, the plaintiff does
not have to submit evidence to establish a prima facie case, but she must plead sufficient facts on
all of the ultimate elements of a gender discrimination claim to make her case plausiblel Chhim v.
Um'v. ofTex. af/lusrin, 836 F.3d 467, 470 (5th Cir. 2016) (citing Raj v. La. Smte Univ., 714 F.3d
322, 33l (5th Cir. 2013)).

Defendant only attacks the final element of Plaintiff’s prima facie case. Defendant
contends that Plaintiff failed to plead that similarly situated males were treated more favorably
than Plaintiff. The Court disagrees Plaintiff alleges that she and another female were the only
employees ever terminated for misconduct Compl. il 3.l2. She also lists five similarly situated
males who were allowed to resign or retire, meaning they, unlike Plaintiff, were eligible for rehire.
Ial 11 3.10. Thus, the Court finds that Plaintiff has pleaded sufficient facts to make her claim

plausible and denies Defendant’s Motion to Dismiss as to Plaintiff’s gender discrimination claim.

 

 

 

 

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D. Texas WhistleblowerAct

The Texas Whistleblower Act prohibits governmental entities from suspending,
terminating, or taking other adverse personnel actions against “a public employee who in good
faith reports a violation of law by the employing governmental entity or another public employee
to an appropriate law enforcement authority.” TEX. GOV’T CODE ANN. § 554.002(a). “The
limitations period to sue under the Whistleblower Act is ninety days after the alleged violation
occurred or was discovered by the employee.” Jackson v. Um'v. of Tex. Health Sci. Cir. Poll'ce
Dep ’r, No. 04-03-00553-CV, 2004 WL 572330, at *2 (Tex. App.-San Antonio l\/lar. 24, 2004,
no pet.) (citing TBX. GOV’T CODE ANN. § 554.005). If the employer has a grievance or appeal
procedure, however, the employee must initiate action under the employer’s grievance or appeal
procedures TEX. GOV’T CODE ANN. § 554.006(a). “Time used by the employee in acting under
the grievance or appeal procedure is excluded” from the 90-day period. Id. § 554.006(c).

“lt is well settled . . . that in order for a defendant tc prevail on the basis of limitations at
the pleadings stage, the plaintiff must normally plead [herself] out of ccurt.” Funches v. City of
Dallas, No. Civ. A. 3:99-CV-0224-D, 1999 WL 261842, at *2 (N.D. Tex. Apr. 28, 1999); See also
Jorzes v. Alcoa, Inc., 339 F.3d 359, 366 (5th Cir. 2003) (“A statute of limitations may support
dismissal under Rule 12(b)(6) where it is evident from the plaintiffJ s pleadings that the action is
barred and the pleadings fail to raise some basis for tolling or the like.”).

Here, Plaintiff has pleaded herself out of court. As mentioned above, a plaintiff alleging a
violation cf the Whistleblower Act must show, inter alia, that her employer Suspended, terminated,
or took some other adverse personnel action against her. TEX. GOV’T CODE ANN. § 554.002(a).
A personnel action is “an action that affects a public employee’s compensation, promotion,

demotion, transfer, work assignment, or performance evaluation.” TEX. GOV’T CODE ANN. §

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554.001(3). The last adverse personnel action Plaintiff alleges in connection with her
Whistleblower Act claim is her September 13, 2017, termination, which occurred approximately
323 days before she filed suit on August l, 20l8. Compl. ii 4.l04. Plaintiff`s allegations about
her dismissal from the Leadership Rowlett class do not render her claims timely. Because Plaintiff
has not pleaded that her post-termination dismissal from the class affected her compensation,
promotion, demotion, transfer, work assignment, or performance evaluation, such dismissal does
not constitute a personnel acticn.

Based on Plaintiff`s current pleadings, she would have been required to file suit in
December 2017, 90 days after her termination Plaintiff did not file suit until August 1, 20l8, so
the face of her Complaint establishes Defendant’s limitations defense Thus, the Court grants
Defendant’s l\/lotion to Dismiss as to Plaintiff`s Whistleblower Act claim. However, because
Plaintiff contends in her Response that she can “arnend the Pleadings to detail what adverse actions
occurred in 2018 and/or were discovered in 2018 relating to the Whistleblower [Act} claims,” the
Court will permit her to replead. Resp. 21-22. l

IV. CONCLUSION

For the foregoing reasons, the Court denies Defendant’s Motion to Dismiss as to Plaintiff’s
Title Vll and Chapter 21 hostile work environment sexual harassment claims, Title Vll and
Chapter 21 retaliation claims, and Title VII gender discrimination claim. The Court grants
Defendant’s Motion to Dismiss as to Plaintiff’ s Title Vll and Chapter 21 quid pro quo sexual
harassment claims and Texas Whistleblower Act claim and dismisses those claims without
prejudicel The Court grants Plaintiff’s request for leave to amend. Plaintiff must file an amended

complaint no later than April l, 2019.

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